       Case 5:10-cv-01318-HE Document 4 Filed 01/20/11 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA

FRANK WASHINGTON,                                 )
                                                  )
               Plaintiff,                         )     Case No.5:10-cv-01318
                                                  )
vs.                                               )
                                                  )
FMA ALLIANCE, LTD,                            )
                                                  )
                                                  )
               Defendant.                         )

                              NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the

District Court of the Western District of Oklahoma, Plaintiff’s Notice of Settlement.

Plaintiffs hereby respectfully request that this Court allow sixty (60) days within which to

complete the settlement and to file a Dismissal in this matter. This Court shall retain

jurisdiction over this matter until fully resolved.



                                                      Respectfully submitted,
                                                      FRANK WASHINGTON


                                                      By: s/ Alex Weisberg
                                                      ALEX D. WEISBERG
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       Case 5:10-cv-01318-HE Document 4 Filed 01/20/11 Page 2 of 2




       I HEREBY CERTIFY THAT this Notice was filed on this 1st day of June, 2010,

by means of the CM/ECF system which will send notice of electronic filing to the

following: Ms. Loraine Lyons, FMA Alliance, 12339 Cutten Road, Houston, TX 77066,

llyons@fmaalliance.com.



                                                By: s/ Alex Weisberg
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